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                  UNITED STATES COURTS OF APPEAL
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

UNITED STATES OF AMERICA,              )
             Appellee                  )
                                       )
      v.                               )       Case No. 21-3086
                                       )
JACOB CHANSLEY,                        )
                                       )
             Appellant.                )


               MOTION TO VOLUNTARILY DISMISS APPEAL

      Pursuant to Federal Rule of Appellate Procedure 42(b) and D.C. Circuit Rules

27(g) and 42, the Defendant/Appellant Jacob Chansley hereby submits this motion to

voluntarily dismiss its appeal in the above-captioned case. Each party shall bear its

own costs.

Date: June 25, 2022             Respectfully Submitted,



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                        CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(a)(7)(C), I hereby certify that this brief complies

with the type-volume limitation of Fed. R. App. P. 29(d) and 32(a)(7)(B) because it

contains 39 words, excluding the parts exempted by Fed. R. App. P. 32(a)(7)(B)(iii)

and Cir. R. 32(a)(1). I further certify that this brief complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type style requirements of Fed. R.

App. P. 32(a)(6) because the brief was prepared in 14-point Century Schoolbook font

using Microsoft Word.

Dated: June 25, 2022                          /s/ John M. Pierce
                                              John M. Pierce
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                          CERTIFICATE OF SERVICE

      I, John M. Pierce, hereby certify that on this day, May 12, 2022, I caused a

copy of the foregoing document to be served on all counsel through the Court’s

CM/ECF case filing system.



                                       /s/ John M. Pierce
                                      John M. Pierce
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